65 F.3d 177
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Timothy Jay JAMES, Defendant-Appellant.
    No. 94-50497.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 16, 1995.*Decided Aug. 22, 1995.
    
      Before:  ALARCON, FERNANDEZ and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Timothy Jay James appeals his 41-month sentence imposed following entry of a guilty plea to bank robbery in violation of 18 U.S.C. Sec. 2113(a).  Counsel for James filed a motion to withdraw and a brief pursuant to Anders v. California, 386 U.S. 738 (1967), which identified no issues for appellate review, and James has not filed a supplemental pro se brief raising any issues.
    
    
      3
      Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issues for review.  Accordingly, counsel's motion to withdraw is GRANTED and the district court is AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    